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                             EXHIBIT B
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                                                                                    Certifed Copy
                                UNITED STATES DISTRCT COURT
                           FOR THE EASTERN DISTRCT OF CALIFORNIA
                          AND THE NORTHERN DISTRICT OF CALIFORNA
                     UNITED STATES DISTRICT COURT COMPOSED OF THREE TO
                      PURSUANT SECTION 2284, TITLE 28 UNITED STATES CODE

        RAPH COLEMAN, et aI.,

                            Plaintiffs,                                CASE NO. 2:90-cv-00520
                                                                       LKKJFMP
               vs.                                                     THREE-JUDGE COURT

        ARNOLD SCHW ARZENEGGER, et aI.,

                            Defendants.


        MARCIANO PLAT A, et al.,

                            Plaintiffs,                                CASE NO. COI-1351 TEH
               vs.

        ARNOLD SCHW ARZENEGGER, et aI.,                                THREE-JUDGE COURT

                            Defendants.


                                                    DEPOSITION OF

                                                 JEAN WOODFORD
                                                 SEPTEMBER 15, 2008
                                                        10:00 a.m.


                                               425 Market Street, 25th Floor
                                                 San Francisco, California

                                     Reported by Quyen N. Do, RPR, CSR No. 12447




                                                                                                          . ,.




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1 listed, this Item NO.7?
2 A I learned about it in discussions with
3 Mr. Specter.
4            Q       Do you recall what Mr. Specter told you with
5 respect to Item NO.7?
6            A       Specifically, no.
7            Q       Going back to Exhibit 1 quickly, you i ve
8 identified that you forwarded one e-mail to the Prison
9 Law Off ice with respect to drug programs, I believe, and
10 you sent a copy of your handwritten notes to the Prison
                                                                                            .

11 Law Office.
12 Did you provide the prison law office with any
13 other documents that yòu used or relied upon in arriving
14 at your opinions in this case?
15           A        I don i t believe so.
16            Q       Okay. So it i S true that you did not provide
17 any copies of draft reports or handwritten reports to
18 the Prison Law Office other than your notes, correct?
19            A       That i S corr~ct, mm-hm.

20            Q       Can you tell me who prepared the first draft
21 of your supplemental report?
22            A       Well, I             when you mean prepare, tell me what
23 you mean by that.
24            Q       Okay, did you write out a copy of the report
25 that i s been marked as Exhibit 2?
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                                                                                                       ;~


                                                                                                  J
1            A       No, i did not.
2            Q        Did you type out what has been marked as
3 Exhibit 2?
4            A        No, i did not.
5             Q       Did you dictate Exhibit 2 into a dictaphone or
 6 some other machine?
 7           A        No, I did not.
 8            Q       Did you dictate Exhibit 2 to Mr. Specter?
 9           A        Well, I don't know that I would use the word
10 dictate, but we certainly had lots of conversations
11 about what I would want to put into my supplemental
12 report based on my observations in touring the prisons
13 and based on what I had read.
14            Q       Did you dictate your supplemental report to
15 anybody else at the Prison Law Office, like Miss Norman
16 or somebody else?
17            A       I did not dictate it, but I had conversations
18 with Miss Norman about what I wanted to see in the
19 supplemental report.
20            Q       Okay.        And can you tell me what you told
21 Miss Norman about what you wanted to see in the
22 supplemental report?
23            A       Well, I talked about what I had - - my
24 observations of the different prisons, what I. saw in
25 terms of the overcrowded situations in each of the
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                                                               .



                                                             33
 1                     MR. SPECTER:                  Obj ection.           It calls for a legal

 2 conclusion.
 3                     MR. MELLO: She i s an expert.
 4                     MR. SPECTER: Still calls for a legal - ~ she's
 5 not a legal expert.
 6 BY MR. MELLO:
 7             Q       I think you can _~ are you a medical expert?
 8             A       No, I'm not a medical expert.
 9             Q       Do you have any medical or mental health
10 training?
11             A       Yes.        I have some training as it pertains                           to
12 the lawsui ts involved in this case.
13             Q       Do you have any undergraduate or graduate
14 training in medicine?
15             A       No, I do not.
16'             Q       Do you have any undergraduate or graduate
17 school training in mental health?
18             A        No, I do not.
19              Q       Okay.        Have you read or been informed by
20 anybody what a constitutionally adequate medical care
21 system would look like?
22              A       I have read the Receiver i s plan for providing

23 a constitutionally adequate health care system.
24              Q       wi thout medical training, can you evaluate
25 whether or not that plan is sufficient?
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1 that 130 percent figure on?
2            A        I believe they               I hope this was in this
3 particular report, but I believe they also looked at
4 what the Department of Corrections i review of each
 5 prison had found, and they had come up with a
 6     higher percent that they didn't agree with.                          But I think
 7 they probably utilized some of that information to make
 8 their own decision, it sounded, from reading the report.
 9            Q       Okay.       You wrote, at the end of that sentence,
10 that you agreed with that 130 percent design bed
11 capacity limit, correct?
12            A       Yes.
13            Q       Okay.       And what studies or reports, other than
14 the strike team report, do you base that opinion upon?
15            A       I base that on my correctional experience and,
16 you know, probably reading things over the years that
17 I - - that the names of which are not coming to mind, but
18 certainly studying the field of corrections.
19            Q       As you sit here today, can you recall with
20 specificity any of those studies or reports that you
21 relied upon in arriving at this opinion?
22            A       No, I cannot.
23            Q       Okay.        In your opinion, is 130 percent design
24 capacity necessary to achi~ve constitutionally adequate
25 medical and mental health care in California 's

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1 Other than these three prisons that you
2 visi ted in the last - - in July and August, have you been
3 inside a California adult institution in the last three
4 years?
 5           A       Last three years?
 6           Q       Uh-huh.
 7           A       In the last three years, I have.                I think I've

 8 only been gone from the department two - - a little over
 9 two years.
10           Q       Okay, I i m losing my ears.             In the last two
11 years, have you been inside any other adult institutions
12 other than the three that you just spoke about?
13           A       No, I have not.
14            Q      Do you have any personal knowledge as to the
15 conditions in the other institutions that you haven't
16 viewed in the last two years?
17                   MR. SPECTER:            Well, how could she have
18 personal knowledge if she hasn i t been there?
19 BY MR. MELLO:
20            Q      You can answer, then.                So the answer would be
21     no.    Is the answer you have none?
22            A       Wel l, I mean, I've read the reports of other

23 people who have been in there, so from those reports, I
24 have an impression, but I have not personally viewed the
25 conditions.
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 1                                   provide supervision."
 2                                   Right?
 3                       A           Yes.
 4                       Q           And you believe - - and this, you wrote,
 5 basically means that correctional officers are not "able
 6 to provide assistance if the prisoner has a health
 7           issue. "              Do you see that?             It's the last sentence.
  8                      A            Yes.
  9                      Q            Okay.           Cart you identify any specific instances
10 that you are aware of where a correctional officer at
11 Lancaster, failed to provide assistance to a prisoner
12 with a health issue due to mixing of potentially                                         violent
13 prisoners?
14                        A           No, I cannot provide a specific example of
15 that.
16                        Q           Are you aware of any specific example anywhere
17 in the system where this mixing of potentially violent
18 prisoners resulted in a correctional officer failing to
19 provide assistance to a prisoner with a health issue?
20                        A            Can you repeat the question again?              I'm sorry.
21                        Q            Sure.' I asked you with respect to Lancaster.
22                        A            Okay.
23                        Q                Are you aware of
                                       My question is more broad.
24 any specific instance where a correctional officer was
25 unable to provide an inmate with a - - to provide
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1      assistance to an inmate with a health issue due to                                          j

2 mixing of potentially violent prisoners at any CDCR
3 institution?
4                     MR. SPECTER:            It i S vague as to time.
5                     THE WITNESS:            Yeah.
 6                    MR. SPECTER:            You mean any time ever? Or just
 7     when?       Sorry.
 8                    MR. MELLO: In the last two years.
 9                    THE WITNESS: I - - from reading some of the
10 other expert opinions, who - - from people who went in
11 and looked at prisons and saw the overcrowding, I think
12 that, while I don't use the term being housed with other
13 violent inmates, they do use the term inmates who are
14 more vulnerable were in crowded housing units, so
15 and - - their circumstance caused their mental illness to
16 be worse and, in some cases, caused people to exhibit
17 signs of mental illness that would not otherwise have
18      done so.       So I don't know have a speci fic example, but
19 in reading the reports, it was clear that it was
20 prevalent at other prisons.
21 BY MR. MELLO:
22             Q       Which reports?
23             A       The one from             oh, gosh.     Pablo
24                     MR. SPECTER:           Can I help her?
25 BY MR. MELLO:

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1            Q         Stewart?
2            A         Okay.
3            Q         Stewart?
4            A         Yes, from Dr. Stewart.                I'm   sorry.
 5           Q         No, I want to help.
 6                     MR.     SPECTER:         Okay.
 7                     THE WITNESS:             Thank you so much.
 8     BY MR.     MELLO:

 9           Q         Anybody else? Any other report that mentioned
10 specific examples?
11           A          I beliéve Dr. Shansky' s report talked to it to
12 some degree.
13            Q        Anyone else? Any other places where you
14 learned of specific incidences where correctional
15 officers failed to provide assistance to prisoners with
16 medical or mental health issues due to population?
17            A         Well, I - - I do think that Dr. Stewart's
18 report went into great detail to talk about the
19 increased percentage of inmates who are mentally ill,
20 and - - and I do think that that comes as a result of
21 inmates being overcrowded.
22            Q         And you base that
23            A         And
24            Q         I i m sorry.
25            A         I i m sorry.
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                                                             83                                             ..-:~'"

                                                                                                                  ~
                                                                                                                  1
1                    Q      No, go ahead.
2                    A      And I do think the reports - - Dr. Shansky 's
 3 report also discusses the impact of overcrowding on the
4 inmates i mental health and talks about staff i s inability
 5     to identify              those signs and symptoms.                 And it really is
 6     really common sense.                       When you        have so many inmates
 7 crowded in, it is -- it's just more difficult to know
 8 who they are and know what their issues and problems
 9 are, and you have an inability to really see the - - the
10     nuances in their changed behavior.                              You know, are they
11 eating? Are they not eating? Are they hearing voices?
12 Are they taking their medication?
13 All of those things get to be more difficult
14 to - - for the correctional officer to observe and bring
15 to the attention of medical staff, because ,it really is
16 the correctional officers that are with them 24/7,
17 and - - and the health care professionals are so
18 dependant on the observations of staff, and when you
19 have so many more inmates and so few staff, having been
20 a correctional officer myself, I can tell you how
21 difficult it is to be aware of the changes in their
22 behavior.
23                   Q       Would CDCR be able to be more aware of their
24 behavior by hiring addi tional correctional officer
25 staff?
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 1                              REPORTER'S CERTIFICATION
 2

 3           I, Quyen N. Do, Certified Shorthand Reporter, in
 4 and for the State of California, do hereby certify:
 5

 6 That the foregoing witness was by me duly sworn;
 7 that the deposition was then taken before me at the time
 8 and place herein set forth; that the testimony and
 9 proceedings were reported stenographically by me and
10 later transcribed into typewriting under my direction;
11 that the foregoing is a true record of the testimony and
12 proceedings taken at that time.
13 IN WITNESS WHEREOF, I have subscribed my name
14 this 22nd day of September 2008.
15
16
17
                                  l~\ -Q-l~~ O~________
                                         Quyen ~. Do, RPR, CSR No. 12447
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